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      6 Attorneys for UNITED STATES OF AMERICA

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      8                                     IN THE UNITED STATES DISTRICT COURT

      9                                         EASTERN DISTRICT OF CALIFORNIA

     10

     11   UNITED STATES OF AMERICA,                                    CASE NO. 2:10-cr-00191 JAM
     12                                         Plaintiff,             STIPULATION AND ORDER FOR
                                                                       CONTINUANCE OF TRIAL
     13   v.                                                           CONFIRMATION HEARING AND
                                                                       FOR CHANGE OF PLEA
     14   JEREMIAH MARTIN, et al.,
     15                                         Defendants.
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     18                                                       STIPULATION

     19             This case was scheduled for changes of plea and for trial confirmation hearing for April 10,

     20 2012. Due to the Court’s unavailability, the parties have met and conferred and agree to and request

     21 the matter be continued to the following dates for the following purposes:

     22             Trial confirmation hearing for defendant Cheryl Peterson set for April 17, 2012; and

     23             Changes of plea set for defendants Todd Smith and Darrin Johnston set for April 24, 2012.

     24 The Court has already excluded time under the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A) and

     25 (B)(iv) and Local Code T4 in this matter to May 8, 2012, and, therefore, no additional exclusion of

     26 time is required. A proposed order is attached below for the Court’s convenience.

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                                                                   1
               Stipulation and Proposed Order
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      1          IT IS SO STIPULATED.

      2                                                     Respectfully submitted,

      3
          DATED: April 11, 2012                             BENJAMIN B. WAGNER
      4                                                     United States Attorney
      5                                          By:        /s/ Todd A. Pickles
                                                            TODD A. PICKLES
      6                                                     Assistant U.S. Attorney
      7                                                     For the United States of America
      8
          DATED: April 11, 2012
      9                                           By:       /s/ Todd A. Pickles for
                                                            MICHAEL LONG
     10
                                                            For Defendant Darrin Johnston
     11
          DATED: April 11, 2012
     12                                           By:       /s/ Todd A. Pickles for
                                                            BRUCE LOCKE
     13
                                                            For Defendant Todd Smith
     14
          DATED: April 11, 2012                             DANIEL BRODERICK
     15                                                     Federal Public Defender
     16                                           By:       /s/ Todd A. Pickles for
                                                            DOUGLAS BEEVERS
     17                                                     Assistant Federal Public Defender
     18                                                     For Defendant Cheryl Peterson
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      1                                                  ORDER

      2          Based on the reasons set forth in the stipulation of the parties filed on April 11, 2012, and

      3 good cause appearing there from, the Court adopts the stipulation of the parties in its entirety.

      4          IT IS HEREBY ORDERED that the trial confirmation hearing set for defendant Cheryl

      5 Peterson is continued to April 17, 2012 at 9:30 a.m.; and

      6          IT IS FURTHER ORDERED THAT the changes of plea set for defendants Todd Smith

      7 and Darrin Johnston are continued to April 24, 2012 at 9:30 a.m.

      8          The Court also already found that the time within which the trial of this matter must be

      9 commenced under the Speedy Trial Act is EXCLUDED until May 8, 2012, pursuant to 18 U.S.C.

     10 § 3161(h)(7)(A) and (B)(iv), and Local Code T4, due to the need to provide defense counsel with

     11 the reasonable time to prepare taking into account due diligence.

     12          IT IS SO ORDERED.

     13
          DATED: April 12, 2012                                  /s/ John A. Mendez________
     14                                                          Honorable John A. Mendez
                                                                 United States District Judge
     15                                                          Eastern District of California
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            Stipulation and Proposed Order
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